_ FILED
Charlotte, NC

NOV 16 2021

IN THE UNITED STATES DISTRICT COURT Cler AT at
FOR THE WESTERN DISTRICT OF NORTH CAROLIRS es District Court
STATESVILLE DIVISION estern District NC

DOCKET NO, 5:21-CR-00034

UNITED STATES OF AMERICA
CONSENT ORDER AND

Vv. JUDGMENT OF FORFEITURE

Samet” Neen Saar ie” See”

KHALFANI SHARRON COULTER

WHEREAS, the defendant, KHALFANI SHARRON COULTER, has entered into a plea
agreement (incorporated by reference herein) with the United States and has voluntarily pleaded
guilty pursuant to Fed. R. Crim. P. 11 to one or more criminal offenses under which forfeiture may
be ordered;

WHEREAS, the defendant and the United States stipulate and agree that the property
described below constitutes property derived from or traceable to proceeds of the defendant’s
offense(s) herein; property involved in the offenses, or any property traceable to such property;
and/or property used in any manner to facilitate the commission of such offense(s); or substitute
property as defined by 21 U.S.C. § 853(p) and Fed. R. Crim. P. 32.2(e); and is therefore subject to
forfeiture pursuant to 21 U.S.C. § 853, 18 U.S.C. § 924(d), and/or 28 U.S.C. § 2461(c), provided,
however, that such forfeiture is subject to any and all third party claims and interests, pending final
adjudication herein; the defendant waives his interest, if any, in the property and agrees to the
forfeiture of such interest;

WHEREAS, the defendant herein waives the requirements of Fed. R. Crim, P, 32,2
regarding notice of the forfeiture in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment against defendant;

WHEREAS, pursuant to Fed. R. Crim. P. 32.2(b)(1) & (c)}(2), the Court finds that there is
the requisite nexus between the property and the offense(s) to which the defendant has pleaded

guilty;

WHEREAS, the defendant withdraws any claim previously submitted in response to an
administrative forfeiture or civil forfeiture proceeding concerning any of the property described
below. If the defendant has not previously submitted such a claim, the defendant hereby waives
all right to do so. If any administrative forfeiture or civil forfeiture proceeding concerning any of
the property described below has previously been stayed, the defendant hereby consents to a lifting
of the stay and consents to forfeiture;

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NOW, THEREFORE, IT IS HEREBY ORDERED THAT the following property is
forfeited to the United States:

* Taurus PT111 G2A, 9mm caliber pistol, SN: TLR54987; and
e Three rounds of 9mm caliber ammunition.

The United States Marshal and/or other property custodian for the investigative agency is
authorized to take possession and maintain custody of the above-described tangible property.

If and to the extent required by Fed. R. Crim, P. 32.2(b)(6), 21 U.S.C. § 853(n), and/or
other applicable law, the United States shall publish notice and provide direct written notice of this
forfeiture.

As to any firearms and/or ammunition listed above and/or in the charging instrument,
defendant consents to disposal by federal, state, or local law enforcement authorities upon such
legal process as they, in their sole discretion, deem to be legally sufficient, and waives any and all
right to further notice of such process or such destruction.

Any person, other than the defendant, asserting any legal interest in the property may,
within thirty days of the publication of notice or the receipt of notice, whichever is earlier, petition
the court for a hearing to adjudicate the validity of the alleged interest.

Pursuant to Fed. R. Crim, P, 32.2(b)(3), upon entry of this Order of Forfeiture, the United
States Attorney’s Office is authorized to conduct any discovery needed to identify, locate or

dispose of the property, including depositions, interrogatories, requests for production of
documents and to issue subpoenas, pursuant to Fed. R. Civ. P. 45.

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Following the Court's disposition of all timely petitions filed, a final order of forfeiture
shali be entered, as provided by Fed. R. Crim. P. 32.2(c)(2). Ifno third party files a timely petition,
this order shall become the final order and judgment of forfeiture, as provided by Fed. R. Crim, P.
32.2(c)(2), and the United States shall have clear title to the property and shall dispose of the
property according to law. Pursuant to Fed. R. Crim. P. 32.2(b)(4)(A), the defendant consents that
this order shall be final as to defendant upon filing.

SO AGREED:

Cn LOW ff) FOR
LAMBERT F. GUINN
Assistant United States Attorney

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KHAKFANI SHARRON COULTER
Defendant

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LUCKY THEGPHILUS OSHO
Attorney for Defendant

Signed: ““ LL’ E2021
KEGEL

United States District Judge
Western District of North Carolina

 

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